                                           Case 8:15-bk-10426-CPM                                     Doc 1           Filed 10/14/15                    Page 1 of 68
B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                              Middle District of Florida                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
  Kotha, Jawaharlal


All Other Names used by the Debtor in the last 8 years                                                        All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                   (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                                 (if more than one, state all)
  xxx-xx-3324
Street Address of Debtor (No. and Street, City, and State):                                                   Street Address of Joint Debtor (No. and Street, City, and State):
  20617 Whitebud Court
  Tampa, FL
                                                                                             ZIP Code                                                                                        ZIP Code
                                                                                           33647
County of Residence or of the Principal Place of Business:                                                    County of Residence or of the Principal Place of Business:
  Hillsborough
Mailing Address of Debtor (if different from street address):                                                 Mailing Address of Joint Debtor (if different from street address):


                                                                                             ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                         Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                                 (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                              Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                            Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                              Chapter 9
     Corporation (includes LLC and LLP)                               in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                              Chapter 11
     Partnership                                                      Railroad
                                                                                                                              Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,               Stockbroker
                                                                                                                              Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                  Commodity Broker
                                                                      Clearing Bank
                                                                      Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                             Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                            (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                      Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                         under Title 26 of the United States                    "incurred by an individual primarily for
                                                                      Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                      Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                        Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must               Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                     are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                                Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                    A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                     in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-         1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999          5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001     $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1        to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million      million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001     $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1        to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million      million      million        million       million
                                Case 8:15-bk-10426-CPM                       Doc 1         Filed 10/14/15                 Page 2 of 68
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Kotha, Jawaharlal
(This page must be completed and filed in every case)
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Middle District of Florida, Tampa Division             8:15-bk-05210                         5/19/15
Location                                                                             Case Number:                                   Date Filed:
Where Filed: See Attachment
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                     Exhibit A                                                                                 Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X
                                                                                           Signature of Attorney for Debtor(s)                     (Date)



                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                Case 8:15-bk-10426-CPM                            Doc 1         Filed 10/14/15              Page 3 of 68
B1 (Official Form 1)(04/13)                                                                                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Kotha, Jawaharlal
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Jawaharlal Kotha                                                                 X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Jawaharlal Kotha

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     October 14, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Ryan N. Singleton, Esq.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Ryan N. Singleton, Esq. 0023502                                                          debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      LeavenLaw
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      3900 First Street North
      Suite 100                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Saint Petersburg, FL 33703                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                              Email: data@leavenlaw.com
      727.327.3328 Fax: 727.327.3305
     Telephone Number
     October 14, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                         Case 8:15-bk-10426-CPM      Doc 1   Filed 10/14/15    Page 4 of 68



In re      Jawaharlal Kotha                                                   Case No.
                                                                          ,
                                                         Debtor

                                        FORM 1. VOLUNTARY PETITION
                                      Prior Bankruptcy Cases Filed Attachment

        Location Where Filed                              Case Number                    Date Filed
        Middle District of Florida, Tampa Division        8:14-bk-05769                  05/21/14
        Middle District of Florida, Tampa Division        8:13-bk-06271                  05/13/13
                               Case 8:15-bk-10426-CPM                       Doc 1     Filed 10/14/15    Page 5 of 68



B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Jawaharlal Kotha                                                                           Case No.
                                                                                Debtor(s)              Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

        4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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                                   Case 8:15-bk-10426-CPM                        Doc 1    Filed 10/14/15   Page 6 of 68



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                 Page 2

                      Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
             deficiency so as to be incapable of realizing and making rational decisions with respect to financial
             responsibilities.);
                      Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                      Active military duty in a military combat zone.

        5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:         /s/ Jawaharlal Kotha
                                                                                    Jawaharlal Kotha
                                                       Date:         October 14, 2015




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                                   Case 8:15-bk-10426-CPM                         Doc 1     Filed 10/14/15     Page 7 of 68
B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
  In re          Jawaharlal Kotha                                                                             Case No.
                                                                                                         ,
                                                                                      Debtor
                                                                                                              Chapter                     7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF            ASSETS               LIABILITIES               OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                   437,979.75


B - Personal Property                                          Yes           6                   759,824.39


C - Property Claimed as Exempt                                 Yes           2


D - Creditors Holding Secured Claims                           Yes           6                                      2,048,721.00


E - Creditors Holding Unsecured                                Yes           1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           4                                           67,120.35
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           3                                                                     12,422.39
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                     12,707.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   27


                                                                       Total Assets            1,197,804.14


                                                                                          Total Liabilities         2,115,841.35




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                                     Case 8:15-bk-10426-CPM                      Doc 1      Filed 10/14/15     Page 8 of 68
B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
  In re           Jawaharlal Kotha                                                                            Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                             TOTAL


              State the following:

              Average Income (from Schedule I, Line 12)


              Average Expenses (from Schedule J, Line 22)

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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  In re         Jawaharlal Kotha                                                                            Case No.
                                                                                                ,
                                                                                 Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                       Nature of Debtor's       Wife,     Debtor's Interest in              Amount of
                Description and Location of Property                   Interest in Property     Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

HOMESTEAD:                                                                                          J                  217,993.00                  Unknown
20617 Whitebud Court
Tampa, FL 33647

*Owned jointly with spouse.

RENTAL PROPERTY:                                                                                    J                  174,020.00                  Unknown
7765 75th Way North
Pinellas Park, FL

*Owned jointly with spouse.

RENTAL PROPERTY:                                                                                    J                    45,966.75                 Unknown
7383 Universal Blvd.
Unit No.: 1108
Orlando, FL

*Owned jointly with spouse and two other
individuals. The Debtor has a 1/4 interest in this
property. NOTE: The full market value of this
property is approximately $183,867.00.




                                                                                                 Sub-Total >           437,979.75          (Total of this page)

                                                                                                        Total >        437,979.75
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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                                  Case 8:15-bk-10426-CPM                       Doc 1      Filed 10/14/15            Page 10 of 68
B6B (Official Form 6B) (12/07)


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  In re         Jawaharlal Kotha                                                                                   Case No.
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Cash ($2,320)                                                   J                        1,160.00

                                                              *Owned jointly with spouse.

2.    Checking, savings or other financial                    Bank of America Checking (6383)                                 H                        6,411.67
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Bank of America Checking (7200)                                 J                        1,044.86
      thrift, building and loan, and                          Total Balance = $2,089.72
      homestead associations, or credit
      unions, brokerage houses, or                            *Owned jointly with spouse.
      cooperatives.
                                                              Bank of America Savings (9173)                                  J                        4,571.86
                                                              Total Balance = $9,143.71

                                                              *Owned jointly with spouse.

                                                              Bank of America Business Checking (1478)                        H                            20.47

                                                              Wells Fargo Checking (6878)                                     J                            12.74
                                                              Total Balance = $25.47

                                                              *Owned jointly with spouse.

                                                              Wells Fargo Checking (7579)                                     J                           500.25
                                                              Total Balance = $1,000.50

                                                              *Owned jointly with spouse.

                                                              Regions Checking (3210)                                         H                           104.65

                                                              PNC Bank Checking (0177)                                        H                           407.70

                                                              Regions Savings (8125)                                          J                            53.06
                                                              Total Balance = $106.11

                                                              *Owned jointly with son.

                                                              PNC Bank Savings (5729)                                         H                              0.00

                                                              PNC Bank Savings (9341)                                         H                              2.00


                                                                                                                              Sub-Total >          14,289.26
                                                                                                                  (Total of this page)

  5     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Jawaharlal Kotha                                                                                   Case No.
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption
                                                              Wells Fargo Business Checking (2599)                            J                            48.26
                                                              Total Balance = $96.52

                                                              *Leftover checking account from an old dissolved
                                                              business.*

                                                              Tradestation UTMA/UGMA Custodian Account held                   H                              0.00
                                                              by Debtor for minor children ($9,200)

                                                              Business Checking held by Bank of America                       J                            12.01
                                                              ($36.38)

                                                              *This was the checking account for 1108 Point
                                                              Orlando, LLC a dissolved business. The Debtor
                                                              have a 1/3 interest in this account as he is named
                                                              on this account with two other individuals.*

                                                              HSA Account held by Optum                                       H                      12,411.21

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        3 Beds and a Daybed ($235), 2 Dressers ($65), 4                 J                        1,752.25
      including audio, video, and                             Nightstands ($40), Armoire ($50), Table and 3
      computer equipment.                                     Chairs ($60), 2 Couches ($210), Loveseat ($20), 4
                                                              Living Room Chairs ($50), 3 Coffee Tables ($60), 2
                                                              End Tables ($15), 7 Console Tables ($94), 7 Lamps
                                                              ($85), 9 Bookshelves ($148), 7 TVs ($595), VCR
                                                              ($15), Tapes ($20), 4 DVD Players ($75), DVDs ($50),
                                                              3 CD Players ($30), CDs ($100), 2 Stereo Systems
                                                              ($100), 3 Rugs ($36), 2 Bar Stools ($30), Kitchen
                                                              Utensils ($100), Pots and Pans ($100), Kitchen
                                                              Appliances ($100), Washer and Dryer ($100),
                                                              Microwave ($45), Hand Tools ($70), Linens ($111),
                                                              Patio Furniture ($70), Lawn Equipment ($25),
                                                              Entertainment Center ($170), Miscellaneous Tables
                                                              and Chairs ($77.50), Office Furnioture ($200.50),
                                                              Excercise Equipment ($113.50)

5.    Books, pictures and other art                           Mirrors and Wall Art ($500.50); Plants ($19.50);                J                           332.50
      objects, antiques, stamp, coin,                         Books ($145)
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing & Apparel                                              H                           200.00

7.    Furs and jewelry.                                       Ring ($60)                                                      H                            60.00




                                                                                                                              Sub-Total >          14,816.23
                                                                                                                  (Total of this page)

Sheet 1 of 5          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Jawaharlal Kotha                                                                                   Case No.
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

8.    Firearms and sports, photographic,                      Golf Clubs ($40), Cameras ($30) and Bicycles ($50)              J                            60.00
      and other hobby equipment.

9.    Interests in insurance policies.                        AAA Term Life Policy (Debtor is the insured; Death              -                              0.00
      Name insurance company of each                          benefit of $250,000 payable to Spouse and TJ
      policy and itemize surrender or                         Kotha)
      refund value of each.
                                                              Group Universal Life Term Life Policy (Debtor is the            -                              0.00
                                                              insured; Death benefit of $925,000 payable to
                                                              Spouse and TJ Kotha)

                                                              Lincoln Benefit Term Life Policy (Debtor's Spouse               -                              0.00
                                                              is the insured; Death benefit of $250,000 payable to
                                                              Debtor and TJ Kotha)

                                                              UL Mutual of Omaha Whole Life Policy (Debtor is                 -                        5,239.00
                                                              the insured; Death benefit of $500,00 payable to
                                                              Spouse and TJ Kotha; Cash surrender of $4802.00)

                                                              UL Mutual of Omaha Whole Life Policy (TJ Kotha is               -                        4,761.00
                                                              the insured; Death benefit of $100,000 payable to
                                                              Debtor and Spouse; Cash surrender of $4753.00)

                                                              UL Mutual of Omaha Whole Life Policy (Debtor's                  -                        5,162.00
                                                              Spouse is the insured; Death benefit of $500,000
                                                              payable to Debtor and TJ Kotha; Cash surrender of
                                                              $4862.00)

                                                              Mutual of Omaha Term Life Policy (Debtor is the                 -                              0.00
                                                              insured; Death benefit of $500,000 payable to
                                                              Spouse and TJ Kotha)

                                                              Group Universal Life Term Life Policy (Debtor's                 -                              0.00
                                                              Spouse is the insured; Death benefit of $100,000
                                                              payable to Debtor and TJ Kotha)

                                                              Mutual of Omaha Term Life Policy (Debtor's Spouse               -                              0.00
                                                              is the insured; Death benefit of $500,000 payable to
                                                              Debtor and TJ Kotha)

                                                              AAA Term Life Policy (Debtor's Spouse is the                    -                              0.00
                                                              insured; Death benefit of $250,000 payable to
                                                              Debtor and TJ Kotha)

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                              Sub-Total >          15,222.00
                                                                                                                  (Total of this page)

Sheet 2 of 5          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Jawaharlal Kotha                                                                                   Case No.
                                                                                                       ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

11. Interests in an education IRA as                          529 College Fund                                                J                      86,903.00
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        Fidelity Roth IRA Account                                       J                              0.00
    other pension or profit sharing
    plans. Give particulars.                                  401k                                                            H                     510,500.00

                                                              Roth IRA                                                        H                        9,800.00

                                                              Annuity held by Fidelity                                        J                        6,750.00

                                                              Annuity held by Lincoln Financial                               J                      11,000.00

                                                              Annuity held by Metlife                                         J                      67,250.00

                                                              Annuity held by Prudential                                      J                      17,000.00

13. Stock and interests in incorporated                       FXCM Brokerage Account                                          H                           197.34
    and unincorporated businesses.
    Itemize.                                                  IBM Stock                                                       H                           887.64

                                                              Mosaic Properties, LLC; Assets = Computer ($300);               J                        1,020.79
                                                              Tablets ($150); Business Checking Account at PNC
                                                              Bank ($1,591.57). Liabilities = $0.00

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                            US Government Bonds                                             H                           300.00
    and other negotiable and
    nonnegotiable instruments.                                US Government Bonds                                             H                           300.00

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.




                                                                                                                              Sub-Total >        711,908.77
                                                                                                                  (Total of this page)

Sheet 3 of 5          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Jawaharlal Kotha                                                                                   Case No.
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2001 Lexus GS 300 with 125,000 Miles; Value                     H                        2,350.00
    other vehicles and accessories.                           determined using dealer appraisal

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                        Office Supplies and Tablet                                      J                            87.50
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X


                                                                                                                              Sub-Total >            2,437.50
                                                                                                                  (Total of this page)

Sheet 4 of 5          continuation sheets attached
to the Schedule of Personal Property

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  In re         Jawaharlal Kotha                                                                                  Case No.
                                                                                                      ,
                                                                                     Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                       Credit Balance with Peoples Gas                                 H                          900.63
    not already listed. Itemize.
                                                              Rental Property Escrow Reserves for 7765 75th Way               J                          250.00
                                                              North, which is owned jointly with spouse. These
                                                              funds are being held by the property management
                                                              company.




                                                                                                                             Sub-Total >            1,150.63
                                                                                                                 (Total of this page)
                                                                                                                                  Total >       759,824.39
Sheet 5 of 5          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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   In re         Jawaharlal Kotha                                                                                      Case No.
                                                                                                           ,
                                                                                       Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                           Value of                 Current Value of
                   Description of Property                                       Each Exemption                               Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
HOMESTEAD:                                                              Fla. Const. art. X, § 4(a)(1); Fla. Stat.                          0.00                   217,993.00
20617 Whitebud Court                                                    Ann. §§ 222.01 & 222.02
Tampa, FL 33647

*Owned jointly with spouse.

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank of America Checking (6383)                   Fla. Stat. Ann. § 222.11(2)(c)                                                           75%                        6,411.67

Bank of America Checking (7200)                                         Fla. Stat. Ann. § 222.11(2)(c)                                     75%                        2,089.72
Total Balance = $2,089.72

*Owned jointly with spouse.

Bank of America Savings (9173)                                          Fla. Stat. Ann. § 222.11(2)(c)                                     75%                        9,143.71
Total Balance = $9,143.71

*Owned jointly with spouse.

HSA Account held by Optum                                               Fla. Stat. Ann. § 222.22                                         100%                       12,411.21

Household Goods and Furnishings
3 Beds and a Daybed ($235), 2 Dressers ($65), 4                         Fla. Const. art. X, § 4(a)(2)                                1,000.00                         3,504.50
Nightstands ($40), Armoire ($50), Table and 3
Chairs ($60), 2 Couches ($210), Loveseat ($20),
4 Living Room Chairs ($50), 3 Coffee Tables
($60), 2 End Tables ($15), 7 Console Tables
($94), 7 Lamps ($85), 9 Bookshelves ($148), 7
TVs ($595), VCR ($15), Tapes ($20), 4 DVD
Players ($75), DVDs ($50), 3 CD Players ($30),
CDs ($100), 2 Stereo Systems ($100), 3 Rugs
($36), 2 Bar Stools ($30), Kitchen Utensils
($100), Pots and Pans ($100), Kitchen
Appliances ($100), Washer and Dryer ($100),
Microwave ($45), Hand Tools ($70), Linens
($111), Patio Furniture ($70), Lawn Equipment
($25), Entertainment Center ($170),
Miscellaneous Tables and Chairs ($77.50),
Office Furnioture ($200.50), Excercise
Equipment ($113.50)

Interests in Insurance Policies
AAA Term Life Policy (Debtor is the insured;                            Fla. Stat. Ann. § 222.14                                         100%                               0.00
Death benefit of $250,000 payable to Spouse
and TJ Kotha)

Group Universal Life Term Life Policy (Debtor is                        Fla. Stat. Ann. § 222.14                                         100%                               0.00
the insured; Death benefit of $925,000 payable
to Spouse and TJ Kotha)




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/13) -- Cont.




   In re         Jawaharlal Kotha                                                                            Case No.
                                                                                                      ,
                                                                                       Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                              (Continuation Sheet)

                                                                              Specify Law Providing              Value of            Current Value of
                   Description of Property                                       Each Exemption                  Claimed             Property Without
                                                                                                                Exemption          Deducting Exemption

Lincoln Benefit Term Life Policy (Debtor's                              Fla. Stat. Ann. § 222.14                            0.00                     0.00
Spouse is the insured; Death benefit of
$250,000 payable to Debtor and TJ Kotha)

UL Mutual of Omaha Whole Life Policy (Debtor                            Fla. Stat. Ann. § 222.14                          100%                 5,239.00
is the insured; Death benefit of $500,00 payable
to Spouse and TJ Kotha; Cash surrender of
$4802.00)

UL Mutual of Omaha Whole Life Policy (TJ                                Fla. Stat. Ann. § 222.14                          100%                 4,761.00
Kotha is the insured; Death benefit of $100,000
payable to Debtor and Spouse; Cash surrender
of $4753.00)

UL Mutual of Omaha Whole Life Policy (Debtor's                          Fla. Stat. Ann. § 222.14                          100%                 5,162.00
Spouse is the insured; Death benefit of
$500,000 payable to Debtor and TJ Kotha; Cash
surrender of $4862.00)

Mutual of Omaha Term Life Policy (Debtor is the                         Fla. Stat. Ann. § 222.14                          100%                       0.00
insured; Death benefit of $500,000 payable to
Spouse and TJ Kotha)

Group Universal Life Term Life Policy (Debtor's                         Fla. Stat. Ann. § 222.14                          100%                       0.00
Spouse is the insured; Death benefit of
$100,000 payable to Debtor and TJ Kotha)

AAA Term Life Policy (Debtor's Spouse is the                            Fla. Stat. Ann. § 222.14                          100%                       0.00
insured; Death benefit of $250,000 payable to
Debtor and TJ Kotha)

Interests in an Education IRA or under a Qualified State Tuition Plan
529 College Fund                                    Fla. Stat. Ann. § 222.22                                              100%              173,806.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Fidelity Roth IRA Account                           Fla. Stat. Ann. § 222.21(2)                                           100%                       0.00

401k                                                                    Fla. Stat. Ann. § 222.21(2)                       100%              510,500.00

Roth IRA                                                                Fla. Stat. Ann. § 222.21(2)                       100%                 9,800.00

Annuity held by Fidelity                                                Fla. Stat. Ann. § 222.21(2)                       100%                13,500.00

Annuity held by Lincoln Financial                                       Fla. Stat. Ann. § 222.21(2)                       100%                22,000.00

Annuity held by Metlife                                                 Fla. Stat. Ann. § 222.21(2)                       100%              134,500.00

Annuity held by Prudential                                              Fla. Stat. Ann. § 222.21(2)                       100%                34,000.00

Automobiles, Trucks, Trailers, and Other Vehicles
2001 Lexus GS 300 with 125,000 Miles; Value                             Fla. Stat. Ann. § 222.25(1)                     1,000.00               2,350.00
determined using dealer appraisal



                                                                                                    Total:         747,797.51             1,167,171.81
 Sheet      1     of    1     continuation sheets attached to the Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
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   In re         Jawaharlal Kotha                                                                                               Case No.
                                                                                                                   ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                              O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                            I    Q   U                       PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                O                                                              G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxx5424                                                Opened 12/22/06 Last Active 11/12/10                        E
                                                                                                                                 D

Abn Amro Mortgage Grou                                               RENTAL PROPERTY:
P.O. Box 9438                                                        13126 Thoroughbred Loop
                                                                     Largo, FL
Gaithersburg, MD 20898
                                                                 J
                                                                     Deed in Spouse's Name Only
                                                                        Value $                             84,582.00                        187,000.00          102,418.00
Account No.

CitiMortgage, Inc.                                                      Representing:
Bankruptcy Dept                                                         Abn Amro Mortgage Grou                                              Notice Only
5280 Corporate Drive
Attention: MC0023
Frederick, MD 21703-8351
                                                                        Value $
Account No. xxxxx2897                                                Opened 5/14/04 Last Active 11/12/10

Abn Amro Mortgage Grou                                               RENTAL PROPERTY:
P.O. Box 9438                                                        13911 Abbey Lane
                                                                     Largo, FL
Gaithersburg, MD 20898
                                                                 H
                                                                     Deed in Spouse's Name Only
                                                                        Value $                            107,157.00                        131,500.00            24,343.00
Account No.

Citimortgage, Inc.                                                      Representing:
Bankruptcy Dept                                                         Abn Amro Mortgage Grou                                              Notice Only
5280 Corporate Drive
Attention: MC0023
Frederick, MD 21703-8351
                                                                        Value $
                                                                                                                         Subtotal
 5
_____ continuation sheets attached                                                                                                           318,500.00          126,761.00
                                                                                                                (Total of this page)




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                                   Case 8:15-bk-10426-CPM                                Doc 1        Filed 10/14/15             Page 19 of 68
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                               Case No.
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT      UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                       ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. x3126                                                    RENTAL PROPERTY:                                            E
                                                                     13126 Thoroughbred Loop                                     D

Cumberland Trace HOA                                                 Largo, FL
c/o DLG Mgmt Svcs
POB 66847                                                            Deed in Spouse's Name Only
                                                                 J
Phoenix, AZ 85082

                                                                        Value $                             84,582.00                         Unknown           Unknown
Account No.                                                          Property Taxes

Diane Nelson                                                         RENTAL PROPERTY:
Pinellas County Tax Collecto                                         8783 Christie Drive
                                                                     Largo, FL
P.O. Box 4006
                                                                 J
Seminole, FL 33775-4006                                              Deed in Spouse's Name Only
                                                                        Value $                             75,681.00                         Unknown           Unknown
Account No.                                                          Property Taxes

Diane Nelson                                                         RENTAL PROPERTY:
Pinellas County Tax Collecto                                         7765 75th Way North
                                                                     Pinellas Park, FL
P.O. Box 4006
                                                                 J
Seminole, FL 33775-4006                                              *Owned jointly with spouse.
                                                                        Value $                            174,020.00                         Unknown           Unknown
Account No.                                                          Property Taxes

Diane Nelson                                                         RENTAL PROPERTY:
Pinellas County Tax Collecto                                         13126 Thoroughbred Loop
                                                                     Largo, FL
P.O. Box 4006
                                                                 J
Seminole, FL 33775-4006                                              Deed in Spouse's Name Only
                                                                        Value $                             84,582.00                         Unknown           Unknown
Account No.                                                          Property Taxes

Diane Nelson                                                         RENTAL PROPERTY:
Pinellas County Tax Collecto                                         8876 Christie Drive
                                                                     Largo, FL
P.O. Box 4006
                                                                 J
Seminole, FL 33775-4006                                              Deed in Spouse's Name Only
                                                                        Value $                             75,681.00                         Unknown           Unknown
       1
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                                 0.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                               Case No.
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
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                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                          Property Taxes                                              E
                                                                                                                                 D

Diane Nelson                                                         RENTAL PROPERTY:
Pinellas County Tax Collecto                                         13911 Abbey Lane
                                                                     Largo, FL
P.O. Box 4006
                                                                 J
Seminole, FL 33775-4006                                              Deed in Spouse's Name Only
                                                                        Value $                            107,157.00                         Unknown             Unknown
Account No.                                                          Property Taxes

Hillsborough County Tax                                              HOMESTEAD:
Collector                                                            20617 Whitebud Court
                                                                     Tampa, FL 33647
P.O. Box 172146
                                                                 J
Tampa, FL 33672                                                      *Owned jointly with spouse.
                                                                        Value $                            217,993.00                         Unknown             Unknown
Account No. xxxxx7267                                                Opened 1/01/07 Last Active 11/12/10

Nationstar Mortgage LLC                                              RENTAL PROPERTY:
Attn: Bankruptcy                                                     8783 Christie Drive
                                                                     Largo, FL
350 Highland Dr
                                                                 J
Lewisville, TX 75067                                                 Deed in Spouse's Name Only
                                                                        Value $                             75,681.00                        181,000.00         105,319.00
Account No. xxxxxxxxxxx5001                                          RENTAL PROPERTY:
                                                                     7765 75th Way North
Oak Park HOA                                                         Pinellas Park, FL
c/o First Svc Residential
POB 28157                                                            *Owned jointly with spouse.
                                                                 J
Miami, FL 33102

                                                                        Value $                            174,020.00                         Unknown             Unknown
Account No.                                                        Property Taxes
                                                                   RENTAL PROPERTY:
                                                                   7383 Universal Blvd.
Orange County Tax Collector                                        Unit No.: 1108
PO Box 545100                                                      Orlando, FL
                                                                   *Owned jointly with spouse and two
Orlando, FL 32854
                                                                 J other individuals. The Debtor has a 1/4
                                                                   interest in this property. NOTE: The full

                                                                        Value $                            183,867.00                         Unknown             Unknown
       2
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             181,000.00         105,319.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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                                   Case 8:15-bk-10426-CPM                                Doc 1        Filed 10/14/15             Page 21 of 68
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                               Case No.
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                              B
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                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxx xxxxxxxxx xxxx 1108                               RENTAL PROPERTY:                                              E
                                                                   7383 Universal Blvd.                                          D
                                                                   Unit No.: 1108
Paramount Hospitality Mgmt                                         Orlando, FL
12562 International Drive                                          *Owned jointly with spouse and two
                                                                   other individuals. The Debtor has a 1/4
Orlando, FL 32821
                                                                 J interest in this property. NOTE: The full
                                                                   market value of this property is

                                                                        Value $                            183,867.00                         Unknown             Unknown
Account No. xxxxxx0024                                               Opened 12/01/03 Last Active 10/28/10

Provident Funding Asso                                               RENTAL PROPERTY:
Po Box 5914                                                          7765 75th Way North
                                                                     Pinellas Park, FL
Santa Rosa, CA 95402
                                                                 H
                                                                     *Owned jointly with spouse.
                                                                        Value $                            174,020.00                        235,000.00           60,980.00
Account No. xxxx xx.: x3911                                          RENTAL PROPERTY:
                                                                     13911 Abbey Lane
Seminole Palms of Largo                                              Largo, FL
POB 628207
Orlando, FL 32862                                                    Deed in Spouse's Name Only
                                                                 J

                                                                        Value $                            107,157.00                         Unknown             Unknown
Account No. xxxx xx.: 8783                                           RENTAL PROPERTY:
                                                                     8783 Christie Drive
Seminole Palms of Largo                                              Largo, FL
POB 628207
Orlando, FL 32862                                                    Deed in Spouse's Name Only
                                                                 J

                                                                        Value $                             75,681.00                         Unknown             Unknown
Account No. xxxx xx.: 8876                                           RENTAL PROPERTY:
                                                                     8876 Christie Drive
Seminole Palms of Largo                                              Largo, FL
POB 628207
Orlando, FL 32862                                                    Deed in Spouse's Name Only
                                                                 J

                                                                        Value $                             75,681.00                         Unknown             Unknown
       3
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             235,000.00           60,980.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                               Case No.
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxx xxxxxxxxx xxxx 1108                               RENTAL PROPERTY:                                              E
                                                                   7383 Universal Blvd.                                          D
                                                                   Unit No.: 1108
The Point Orlando Resort                                           Orlando, FL
7389 Universal Blvd                                                *Owned jointly with spouse and two
                                                                   other individuals. The Debtor has a 1/4
Orlando, FL 32819
                                                                 J interest in this property. NOTE: The full
                                                                   market value of this property is

                                                                        Value $                            183,867.00                         Unknown             Unknown
Account No. xxxxxxxxxx0001                                           RENTAL PROPERTY:
                                                                     8876 Christie Drive
Wells Fargo Bank NA                                                  Largo, FL
Bankruptcy Dept
MAC X7801-014                                                        Deed in Spouse's Name Only
                                                                 J
3476 Stateview Blvd.
Fort Mill, SC 29715
                                                                        Value $                             75,681.00                        185,000.00         109,319.00
Account No. xxxxxxxxxxxxx1998                                      Opened 8/01/06 Last Active 7/27/11
                                                                   Home Equity Line of Credit
Wells Fargo Bank Nv Na                                             RENTAL PROPERTY:
Attn: Deposits Bankruptcy                                          7765 75th Way North
MAC# P6103-05K
                                                                 J Pinellas Park, FL
Po Box 3908                                                        *Owned jointly with spouse.
Portland, OR 97208
                                                                        Value $                            174,020.00                        185,000.00         185,000.00
Account No. xxxxxxxxxxxxx0001                                        Opened 8/01/04 Last Active 7/27/11

Wells Fargo Bank Nv Na                                               RENTAL PROPERTY:
Attn: Deposits Bankruptcy MAC#                                       13911 Abbey Lane
                                                                     Largo, FL
P6103-05K
                                                                 H
Po Box 3908                                                          Deed in Spouse's Name Only
Portland, OR 97208
                                                                        Value $                            107,157.00                         70,500.00           70,500.00
Account No. xxxxxxxxx7244                                       Opened 4/01/08 Last Active 12/31/10
                                                                RENTAL PROPERTY:
                                                                7383 Universal Blvd.
Wells Fargo Hm Mortgag                                          Unit No.: 1108
8480 Stagecoach Cir                                             Orlando, FL
                                                                *Owned jointly with spouse and two
Frederick, MD 21701
                                                            X J other individuals. The Debtor has a 1/4
                                                                interest in this property. NOTE: The full

                                                                        Value $                            183,867.00                        453,721.00         269,854.00
       4
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             894,221.00         634,673.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                               Case No.
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                                                                                      E
                                                                                                                                 D

PennyMac                                                                Representing:
Bankruptcy Dept                                                         Wells Fargo Hm Mortgag                                              Notice Only
P.O. Box 514387
Los Angeles, CA 90051-4387

                                                                        Value $
Account No.

PennyMac LoanServices, LLC                                              Representing:
Bankruptcy Dept                                                         Wells Fargo Hm Mortgag                                              Notice Only
PO Box 660929
Dallas, TX 75266-0929

                                                                        Value $
Account No. xxxxxxxxx9815                                            Opened 9/01/06 Last Active 4/09/12

Wells Fargo Hm Mortgag                                               HOMESTEAD:
8480 Stagecoach Cir                                                  20617 Whitebud Court
                                                                     Tampa, FL 33647
Frederick, MD 21701
                                                                 J
                                                                     *Owned jointly with spouse.
                                                                        Value $                            217,993.00                        420,000.00         202,007.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
       5
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             420,000.00         202,007.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)
                                                                                                                          Total            2,048,721.00       1,129,740.00
                                                                                                (Report on Summary of Schedules)

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  In re         Jawaharlal Kotha                                                                                                   Case No.
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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   In re         Jawaharlal Kotha                                                                                        Case No.
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 5717                                                                Credit card                                                 T   T
                                                                                                                                                E
                                                                                                                                                D

Bill Me Later
POB 105658                                                                  J
Atlanta, GA 30348

                                                                                                                                                                         601.37
Account No. xxxxxxxxxxxxx6532                                                   Opened 1/01/15
                                                                                Collection Attorney Safeco Member Liberty
Brown & Joseph Ltd                                                              Mutual
1701 Golf Rd Bldg 2                                                         H
Rolling Meadows, IL 60008

                                                                                                                                                                         389.00
Account No. xxxx6518

Business Revenue System, Inc
P.O. Box 13077                                                              J
Des Moines, IA 50309

                                                                                                                                                                         535.00
Account No. xxxxxxxxxxxx8367                                                    Opened 8/01/97 Last Active 12/24/13
                                                                                Credit Card
Chase Card
P.o. Box 15298                                                              J
Wilmington, DE 19850

                                                                                                                                                                     23,916.00

                                                                                                                                        Subtotal
 3
_____ continuation sheets attached                                                                                                                                   25,441.37
                                                                                                                              (Total of this page)




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                                   Case 8:15-bk-10426-CPM                             Doc 1           Filed 10/14/15    Page 26 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                      Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                        B                                                             I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No.                                                                                                                               E
                                                                                                                                          D

Client Services                                                                 Representing:
3451 Harry Truman Blvd                                                          Chase Card                                                                Notice Only
Saint Charles, MO 63301



Account No.

United Collection Bureau                                                        Representing:
5620 South Wyck Blvd                                                            Chase Card                                                                Notice Only
Toledo, OH 43614



Account No. xxxxxxxx9012                                                        Opened 10/01/01 Last Active 4/19/13
                                                                                Credit Card
Chase Card
Po Box 15298                                                                H
Wilmington, DE 19850

                                                                                                                                                            19,438.00
Account No. xxxxxxxxxxxx2862                                                    Opened 9/01/95 Last Active 4/19/13
                                                                                Credit Card
Chase Card
P.o. Box 15298                                                              J
Wilmington, DE 19850

                                                                                                                                                            11,397.00
Account No. xxxxxxxxxx8420                                                      Opened 5/01/05 Last Active 12/06/13
                                                                                Credit Card
Chase Card
Po Box 15298                                                                W
Wilmington, DE 19850

                                                                                                                                                              7,196.00

           1
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                            38,031.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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                                   Case 8:15-bk-10426-CPM                             Doc 1           Filed 10/14/15    Page 27 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                      Case No.
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                        B                                                             I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxx0194                                                        Opened 6/01/98 Last Active 4/22/13                        E
                                                                                Credit Card                                               D

Chase Card
Po Box 15298                                                                H
Wilmington, DE 19850

                                                                                                                                                              1,499.00
Account No. xxxxxxxxxxxx5019                                                    Opened 7/14/04 Last Active 4/19/13
                                                                                Credit Card
Discover Fin Svcs Llc
Pob 15316                                                                   H
Wilmington, DE 19850

                                                                                                                                                                738.00
Account No.

Capital Management                                                              Representing:
726 Exchange St.                                                                Discover Fin Svcs Llc                                                     Notice Only
Buffalo, NY 14210



Account No. xxx3092                                                             Medical Service

Florida Hospital
Wesley Chapel                                                               J
P.O. Box 3495
Toledo, OH 43607
                                                                                                                                                                449.11
Account No. 6532

Safeco Insurance
POB 59838                                                                   J
Schaumburg, IL 60159

                                                                                                                                                                389.16

           2
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              3,075.27
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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                                   Case 8:15-bk-10426-CPM                             Doc 1           Filed 10/14/15        Page 28 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Jawaharlal Kotha                                                                                          Case No.
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. x7352                                                               Medical Service                                                E
                                                                                                                                               D

Sujatha Borra MD
13333 N 56th Street                                                         J                                                                      X
Tampa, FL 33617

                                                                                                                                                                       37.71
Account No. xx2406                                                              Medical Service

Tower Radiology
Billing & BK Dept                                                           J
3069 Grand Pavillion Rd.
Tampa, FL 33613
                                                                                                                                                                     535.00
Account No.




Account No.




Account No.




           3
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                     572.71
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                67,120.35


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                                  Case 8:15-bk-10426-CPM                     Doc 1       Filed 10/14/15           Page 29 of 68
B6G (Official Form 6G) (12/07)


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  In re             Jawaharlal Kotha                                                                            Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                                  Case 8:15-bk-10426-CPM                 Doc 1    Filed 10/14/15           Page 30 of 68
B6H (Official Form 6H) (12/07)


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  In re          Jawaharlal Kotha                                                                        Case No.
                                                                                               ,
                                                                             Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

                  Hanumantharao Vuyyuru                                           Wells Fargo Hm Mortgag
                                                                                  8480 Stagecoach Cir
                                                                                  Frederick, MD 21701

                  Srinivasa Vemulamda                                             Wells Fargo Hm Mortgag
                                                                                  8480 Stagecoach Cir
                                                                                  Frederick, MD 21701




       0
               continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                               Case 8:15-bk-10426-CPM               Doc 1         Filed 10/14/15            Page 31 of 68



Fill in this information to identify your case:

Debtor 1                      Jawaharlal Kotha

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF FLORIDA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status*
       information about additional                                  Not employed                               Not employed
       employers.
                                             Occupation            Technical Sales Specialist                 Engagement Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       IBM Corporation                            Collaborative Solutions, LLC

       Occupation may include student        Employer's address                                               11190 Sunrise Valley Drive
       or homemaker, if it applies.                                1 New Orchard Road                         Suite 110
                                                                   Armonk, NY 10504                           Reston, VA 20191

                                             How long employed there?         17 years                                  3.5 years
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        9,702.58       $         12,585.99

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      9,702.58             $   12,585.99




Official Form B 6I                                                      Schedule I: Your Income                                                  page 1
                         Case 8:15-bk-10426-CPM                    Doc 1         Filed 10/14/15              Page 32 of 68


Debtor 1    Jawaharlal Kotha                                                                      Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $         9,702.58      $        12,585.99

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $         1,509.22   $          2,636.15
      5b.   Mandatory contributions for retirement plans                                   5b.     $             0.00   $              0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $         3,007.81   $          2,113.12
      5d.   Required repayments of retirement fund loans                                   5d.     $             0.00   $              0.00
      5e.   Insurance                                                                      5e.     $           365.00   $             29.12
      5f.   Domestic support obligations                                                   5f.     $             0.00   $              0.00
      5g.   Union dues                                                                     5g.     $             0.00   $              0.00
      5h.   Other deductions. Specify: Stock Contribution                                  5h.+    $            98.53 + $              0.00
            Charitable Contributions                                                               $            15.00   $              0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          4,995.56      $       4,778.39
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,707.02      $       7,807.60
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $            -92.23     $               0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $               0.00
      8e. Social Security                                                                  8e.     $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                  0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $             -92.23     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           4,614.79 + $        7,807.60 = $           12,422.39
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $          12,422.39
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor's Spouse will be moving to India to attend to her parents' needs which will incur a loss of
                             household income due to the loss of her employment




Official Form B 6I                                                    Schedule I: Your Income                                                       page 2
                      Case 8:15-bk-10426-CPM      Doc 1     Filed 10/14/15              Page 33 of 68


Debtor 1   Jawaharlal Kotha                                                  Case number (if known)




                                               Official Form B 6I
                               Attachment for Additional Employment Information

Debtor
Occupation            Owner
Name of Employer      Mosaic Properties, LLC
How long employed     3 years
Address of Employer   20617 Whitebud Court
                      Tampa, FL 33647




Official Form B 6I                                 Schedule I: Your Income                              page 3
                             Case 8:15-bk-10426-CPM                          Doc 1      Filed 10/14/15                Page 34 of 68



Fill in this information to identify your case:

Debtor 1                  Jawaharlal Kotha                                                                   Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                         A supplement showing post-petition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA                                                 MM / DD / YYYY

Case number                                                                                                           A separate filing for Debtor 2 because Debtor
(If known)                                                                                                            2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
         No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                 each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                        No
      dependents' names.                                                            Son                                  19                   Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                           Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.   $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.   $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.   $                             450.00
      4d. Homeowner’s association or condominium dues                                                       4d.   $                             110.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.   $                               0.00




Official Form B 6J                                                    Schedule J: Your Expenses                                                    page 1
                         Case 8:15-bk-10426-CPM                            Doc 1         Filed 10/14/15                 Page 35 of 68


Debtor 1      Jawaharlal Kotha                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                      6a.   $                               220.00
      6b. Water, sewer, garbage collection                                                                    6b.   $                               150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.   $                               455.00
      6d. Other. Specify: Gas                                                                                 6d.   $                                75.00
              Lawn Care                                                                                             $                                75.00
              Pest Control                                                                                          $                                35.00
              Security                                                                                              $                                45.00
7.    Food and housekeeping supplies                                                          7.                    $                             1,870.00
8.    Childcare and children’s education costs                                                8.                    $                               780.00
9.    Clothing, laundry, and dry cleaning                                                     9.                    $                               210.00
10.   Personal care products and services                                                   10.                     $                               320.00
11.   Medical and dental expenses                                                           11.                     $                             2,045.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                   628.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                   135.00
14.   Charitable contributions and religious donations                                      14. $                                                 2,465.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 1,173.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                   280.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    House Cleaning                                                     21. +$                                                   241.00
      Child Tuition                                                                              +$                                                  500.00
      Child Extra Curricular Activities                                                          +$                                                  280.00
      Accounting Fees                                                                            +$                                                   65.00
      Legal Fees                                                                                 +$                                                  100.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.       $                     12,707.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                              12,422.39
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                             12,707.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                 -284.61

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes. Explain: The Debtor anticipates incurring expenses for the on-going medical and living expenses of his wife's
                          parents. Debtor anticipates incurring a rent expense after the homestead is surrendered.




Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
                              Case 8:15-bk-10426-CPM                       Doc 1       Filed 10/14/15    Page 36 of 68
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Jawaharlal Kotha                                                                             Case No.
                                                                                  Debtor(s)              Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      29
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date October 14, 2015                                                Signature   /s/ Jawaharlal Kotha
                                                                                  Jawaharlal Kotha
                                                                                  Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       Jawaharlal Kotha                                                                                  Case No.
                                                                                 Debtor(s)                     Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $230,483.00                           2013 - Wages
                          $-29,031.00                           2013 - Business Income
                          $3,468.00                             2013 - Rental Income
                          $245,852.00                           2014 - Wages
                          $-184.00                              2014 - Business Income
                          $-47,224.00                           2014 - Rental Income




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               2. Income other than from employment or operation of business

      None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE
                         $103.00                                2013 Ordinary Dividends
                         $-3,000.00                             2013 Capital Loss
                         $19.00                                 2014 Taxable Interest
                         $-3,000.00                             2014 Capital Loss

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
    OF CREDITOR                                                          PAYMENTS                             AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                         DATES OF                                   PAID OR
                                                                         PAYMENTS/                                VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                      AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                       NATURE OF          COURT OR AGENCY                                 STATUS OR
 AND CASE NUMBER                                                       PROCEEDING         AND LOCATION                                    DISPOSITION
 Wells Fargo vs. Jawaharlal Kotha et al; Case #:                       Foreclosure        Circuit Court, Pinellas County, FL              Judgment
 12-002568-CI



  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 CAPTION OF SUIT                                  NATURE OF                                COURT OR AGENCY                                STATUS OR
 AND CASE NUMBER                                  PROCEEDING                               AND LOCATION                                   DISPOSITION
 Citimortgage vs. Jawaharlal Kotha et al; Case #: Foreclosure                              Circuit Court, Pinellas County, FL             Judgment
 12-001032-CI
 Wells Fargo vs. Jawaharlal Kotha et al; Case #:                        Foreclosure        Circuit Court, Hillsborough County, FL         Foreclosure
 12-CA-015645
 PennyMac Holdings, LLC vs. Jawaharlal Kotha                            Foreclosure        Circuit Court, Orange County, FL               Pending
 et al; Case #: 2015-CA-006273-O
 Nationstar vs. Jawaharlal Kotha et al; Case #:                         Foreclosure        Circuit Court, Pinellas County, FL             Pending
 11-011382-CI
 Provident Funding Associates vs. Jawaharlal                            Foreclosure        Circuit Court, Pinellas County, FL             Pending
 Kotha et al; Case #: 11-010525-CI
 Citimortgage vs. Jawaharlal Kotha et al; Case #: Foreclosure                              Circuit Court, Pinellas County, FL             Judgment
 11-009473-CI
 Wells Fargo Bank NA vs. Jawaharlal Kotha;                              Breach of          Circuit Court, Hillsborough County, FL         Closed
 Case #: 12-CA-009827                                                   Contract
 Wells Fargo Bank NA vs. Jawaharlal Kotha et al;                        Equitable Relief   Circuit Court, Hillsborough County, FL         Closed
 Case #: 12-CA-014833
 Wells Fargo vs. Jawaharlal Kotha et al; Case #:                        Foreclosure        Circuit Court, Orange County, FL               Closed
 2011-CA-016509

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                          DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE               PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,        DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN                PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                  TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                      DATE OF           DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER                ORDER                   PROPERTY




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               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT
 Charities                                                                                      Over the past          $10,150
                                                                                                year
 Church/Tithing                                                                                 Over the past          $18,850
                                                                                                year

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                   LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                            BY INSURANCE, GIVE PARTICULARS                       DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                  AMOUNT OF MONEY
 NAME AND ADDRESS                                                     NAME OF PAYER IF OTHER                           OR DESCRIPTION AND VALUE
     OF PAYEE                                                               THAN DEBTOR                                       OF PROPERTY
 LeavenLaw                                                            6/30/15; 9/21/15                                $1,475.00
 3900 First Street North
 Suite 100
 Saint Petersburg, FL 33703
 Dan Herman                                                           2015                                            $400

 Andre Keith Sanders                                                  2015                                            1281



               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                          DATE                              AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                              DATE(S) OF                 VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                     TRANSFER(S)                IN PROPERTY




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               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                       AND AMOUNT OF FINAL BALANCE                             OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
   OR OTHER DEPOSITORY                                    TO BOX OR DEPOSITORY                    OF CONTENTS                     SURRENDER, IF ANY
 PNC Bank                                                                                                                       Closed in November
 One PNC Plaza                                                                                                                  2014
 249 Fifth Avenue
 Pittsburgh, PA 15222

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                         DATE OF SETOFF                                    AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY
 IBM Corporation (Debtor's Employer)                      IBM W520 Laptop, Keyboards, Mouse(s),            20617 Whitebud Court, Tampa, FL 33647
 1701 North Street                                        Phones, Cell Phone, Monitors, Printers,
 Endicott, NY 13760                                       Office Desk, Office Supplies, Cabinets, File
                                                          Draws, Tablets, TV - Held for work
                                                          purposes
 Collaborative Solutions                                  Dell Laptops, Keyboards, Mouse(s),           20617 Whitebud Court
 (Spouse's Employer)                                      Phones, Cell Phone, Office Desk, Office      Tampa, FL 33647
 11190 Sunrise Valley Drive                               Supplies, Cabinets, File Draws, Tablet, TV -
 Suite 110                                                Held for work purposes
 Reston, VA 20191




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 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY
 Son                                                      2007 Lexus RX350; Mac (27"); Macbook            Debtor's Residence
                                                          Pro; Linux Server; Windows Server;
                                                          Printer, Monitors, TV, 3 Guitars, 2
                                                          Amplifiers, 2 Keyboards, Game Consoles -
                                                          Wii, PS2, PS3, Xbox, Nintendo, other;
                                                          Computer Desks; Art Studio desks and
                                                          related drawing material; Bed;
                                                          Couch/Daybed; 2 Chairs; Book cases,
                                                          cabinents, and desk drawers; Office
                                                          equipment & supplies; Clothing Armoir;
                                                          Clothes; Shoes & Slipons; Suits & Belts.

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                             NAME USED                                         DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.




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 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                   STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES
 Mosaic Properties,                XX-XXXXXXX                        20617 Whitebud Court         Home Design & Mosaic             12/19/12 - Current
 LLC                                                                 Tampa, FL 33647              Murals
 1108 Point Orlando,               XX-XXXXXXX                        20617 Whitebud Court         Condo Hotel Rental               5/9/08 - 9/23/11
 LLC                                                                 Tampa, FL 33647              Property

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Ameet Punwani, PA                                                                                         2011 - Present
 2240 Twelve Oaks Way
 Suite 102
 Wesley Chapel, FL 33544

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED



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    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                    NATURE OF INTEREST                                PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                    TITLE                                 OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                    TITLE                                 DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                       DATE AND PURPOSE                                  OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                              OF WITHDRAWAL                                     VALUE OF PROPERTY




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               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                               TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                         ******




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                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date October 14, 2015                                               Signature    /s/ Jawaharlal Kotha
                                                                                  Jawaharlal Kotha
                                                                                  Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Jawaharlal Kotha                                                                                 Case No.
                                                                                 Debtor(s)                   Chapter    7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)
 Property No. 1

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Abn Amro Mortgage Grou                                                           RENTAL PROPERTY:
                                                                                  13126 Thoroughbred Loop
                                                                                  Largo, FL

                                                                                  Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                             Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Abn Amro Mortgage Grou                                                           RENTAL PROPERTY:
                                                                                  13911 Abbey Lane
                                                                                  Largo, FL

                                                                                  Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                             Not claimed as exempt




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 Property No. 3

 Creditor's Name:                                                               Describe Property Securing Debt:
 Cumberland Trace HOA                                                           RENTAL PROPERTY:
                                                                                13126 Thoroughbred Loop
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                               Describe Property Securing Debt:
 Diane Nelson                                                                   RENTAL PROPERTY:
                                                                                8783 Christie Drive
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 5

 Creditor's Name:                                                               Describe Property Securing Debt:
 Diane Nelson                                                                   RENTAL PROPERTY:
                                                                                7765 75th Way North
                                                                                Pinellas Park, FL

                                                                                *Owned jointly with spouse.

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 6

 Creditor's Name:                                                               Describe Property Securing Debt:
 Diane Nelson                                                                   RENTAL PROPERTY:
                                                                                13126 Thoroughbred Loop
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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B8 (Form 8) (12/08)                                                                                                              Page 4
 Property No. 7

 Creditor's Name:                                                               Describe Property Securing Debt:
 Diane Nelson                                                                   RENTAL PROPERTY:
                                                                                8876 Christie Drive
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 8

 Creditor's Name:                                                               Describe Property Securing Debt:
 Diane Nelson                                                                   RENTAL PROPERTY:
                                                                                13911 Abbey Lane
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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B8 (Form 8) (12/08)                                                                                                              Page 5
 Property No. 9

 Creditor's Name:                                                               Describe Property Securing Debt:
 Hillsborough County Tax                                                        HOMESTEAD:
                                                                                20617 Whitebud Court
                                                                                Tampa, FL 33647

                                                                                *Owned jointly with spouse.

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 10

 Creditor's Name:                                                               Describe Property Securing Debt:
 Nationstar Mortgage LLC                                                        RENTAL PROPERTY:
                                                                                8783 Christie Drive
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 11

 Creditor's Name:                                                               Describe Property Securing Debt:
 Oak Park HOA                                                                   RENTAL PROPERTY:
                                                                                7765 75th Way North
                                                                                Pinellas Park, FL

                                                                                *Owned jointly with spouse.

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 12

 Creditor's Name:                                                               Describe Property Securing Debt:
 Orange County Tax Collector                                                    RENTAL PROPERTY:
                                                                                7383 Universal Blvd.
                                                                                Unit No.: 1108
                                                                                Orlando, FL

                                                                                *Owned jointly with spouse and two other individuals. The
                                                                                Debtor has a 1/4 interest in this property. NOTE: The full
                                                                                market value of this property is approximately $18

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 13

 Creditor's Name:                                                               Describe Property Securing Debt:
 Paramount Hospitality Mgmt                                                     RENTAL PROPERTY:
                                                                                7383 Universal Blvd.
                                                                                Unit No.: 1108
                                                                                Orlando, FL

                                                                                *Owned jointly with spouse and two other individuals. The
                                                                                Debtor has a 1/4 interest in this property. NOTE: The full
                                                                                market value of this property is approximately $18

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 14

 Creditor's Name:                                                               Describe Property Securing Debt:
 Provident Funding Asso                                                         RENTAL PROPERTY:
                                                                                7765 75th Way North
                                                                                Pinellas Park, FL

                                                                                *Owned jointly with spouse.

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 15

 Creditor's Name:                                                               Describe Property Securing Debt:
 Seminole Palms of Largo                                                        RENTAL PROPERTY:
                                                                                13911 Abbey Lane
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 16

 Creditor's Name:                                                               Describe Property Securing Debt:
 Seminole Palms of Largo                                                        RENTAL PROPERTY:
                                                                                8783 Christie Drive
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 17

 Creditor's Name:                                                               Describe Property Securing Debt:
 Seminole Palms of Largo                                                        RENTAL PROPERTY:
                                                                                8876 Christie Drive
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 18

 Creditor's Name:                                                               Describe Property Securing Debt:
 The Point Orlando Resort                                                       RENTAL PROPERTY:
                                                                                7383 Universal Blvd.
                                                                                Unit No.: 1108
                                                                                Orlando, FL

                                                                                *Owned jointly with spouse and two other individuals. The
                                                                                Debtor has a 1/4 interest in this property. NOTE: The full
                                                                                market value of this property is approximately $18

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 19

 Creditor's Name:                                                               Describe Property Securing Debt:
 Wells Fargo Bank NA                                                            RENTAL PROPERTY:
                                                                                8876 Christie Drive
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 20

 Creditor's Name:                                                               Describe Property Securing Debt:
 Wells Fargo Bank Nv Na                                                         RENTAL PROPERTY:
                                                                                7765 75th Way North
                                                                                Pinellas Park, FL

                                                                                *Owned jointly with spouse.

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 21

 Creditor's Name:                                                               Describe Property Securing Debt:
 Wells Fargo Bank Nv Na                                                         RENTAL PROPERTY:
                                                                                13911 Abbey Lane
                                                                                Largo, FL

                                                                                Deed in Spouse's Name Only

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt

 Property No. 22

 Creditor's Name:                                                               Describe Property Securing Debt:
 Wells Fargo Hm Mortgag                                                         RENTAL PROPERTY:
                                                                                7383 Universal Blvd.
                                                                                Unit No.: 1108
                                                                                Orlando, FL

                                                                                *Owned jointly with spouse and two other individuals. The
                                                                                Debtor has a 1/4 interest in this property. NOTE: The full
                                                                                market value of this property is approximately $18

 Property will be (check one):
       Surrendered                                                   Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                          Not claimed as exempt




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 Property No. 23

 Creditor's Name:                                                                  Describe Property Securing Debt:
 Wells Fargo Hm Mortgag                                                            HOMESTEAD:
                                                                                   20617 Whitebud Court
                                                                                   Tampa, FL 33647

                                                                                   *Owned jointly with spouse.

 Property will be (check one):
       Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
        Redeem the property
        Reaffirm the debt
        Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       Claimed as Exempt                                                            Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:                 Lease will be Assumed pursuant to 11
 -NONE-                                                                                                  U.S.C. § 365(p)(2):
                                                                                                           YES               NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date October 14, 2015                                                Signature   /s/ Jawaharlal Kotha
                                                                                  Jawaharlal Kotha
                                                                                  Debtor




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B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                  United States Bankruptcy Court
                                                          Middle District of Florida
 In re    Jawaharlal Kotha                                                                              Case No.
                                                                         Debtor(s)                      Chapter      7

                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                            Certification of Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Jawaharlal Kotha                                                           X /s/ Jawaharlal Kotha                             October 14, 2015
Printed Name(s) of Debtor(s)                                                 Signature of Debtor                              Date

Case No. (if known)                                                        X
                                                                               Signature of Joint Debtor (if any)             Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Jawaharlal Kotha                                                                           Case No.
                                                                                 Debtor(s)             Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: October 14, 2015                                               /s/ Jawaharlal Kotha
                                                                      Jawaharlal Kotha
                                                                      Signature of Debtor




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Jawaharlal Kotha                    CitiMortgage, Inc.                      Orange County Tax Collector
20617 Whitebud Court                Bankruptcy Dept                         PO Box 545100
Tampa, FL 33647                     5280 Corporate Drive                    Orlando, FL 32854
                                    Attention: MC0023
                                    Frederick, MD 21703-8351

Ryan N. Singleton, Esq.             Client Services                         Paramount Hospitality Mgmt
LeavenLaw                           3451 Harry Truman Blvd                  12562 International Drive
3900 First Street North             Saint Charles, MO 63301                 Orlando, FL 32821
Suite 100
Saint Petersburg, FL 33703

Abn Amro Mortgage Grou              Cumberland Trace HOA                    PennyMac
P.O. Box 9438                       c/o DLG Mgmt Svcs                       Bankruptcy Dept
Gaithersburg, MD 20898              POB 66847                               P.O. Box 514387
                                    Phoenix, AZ 85082                       Los Angeles, CA 90051-4387



Bill Me Later                       Diane Nelson                            PennyMac LoanServices, LLC
POB 105658                          Pinellas County Tax Collecto            Bankruptcy Dept
Atlanta, GA 30348                   P.O. Box 4006                           PO Box 660929
                                    Seminole, FL 33775-4006                 Dallas, TX 75266-0929



Brown & Joseph Ltd                  Discover Fin Svcs Llc                   Provident Funding Asso
1701 Golf Rd Bldg 2                 Pob 15316                               Po Box 5914
Rolling Meadows, IL 60008           Wilmington, DE 19850                    Santa Rosa, CA 95402




Business Revenue System, Inc        Florida Hospital                        Safeco Insurance
P.O. Box 13077                      Wesley Chapel                           POB 59838
Des Moines, IA 50309                P.O. Box 3495                           Schaumburg, IL 60159
                                    Toledo, OH 43607



Capital Management                  Hillsborough County Tax                 Seminole Palms of Largo
726 Exchange St.                    Collector                               POB 628207
Buffalo, NY 14210                   P.O. Box 172146                         Orlando, FL 32862
                                    Tampa, FL 33672



Chase Card                          Nationstar Mortgage LLC                 Sujatha Borra MD
P.o. Box 15298                      Attn: Bankruptcy                        13333 N 56th Street
Wilmington, DE 19850                350 Highland Dr                         Tampa, FL 33617
                                    Lewisville, TX 75067



Chase Card                          Oak Park HOA                            The Point Orlando Resort
Po Box 15298                        c/o First Svc Residential               7389 Universal Blvd
Wilmington, DE 19850                POB 28157                               Orlando, FL 32819
                                    Miami, FL 33102
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Tower Radiology
Billing & BK Dept
3069 Grand Pavillion Rd.
Tampa, FL 33613



United Collection Bureau
5620 South Wyck Blvd
Toledo, OH 43614




Wells Fargo Bank NA
Bankruptcy Dept
MAC X7801-014
3476 Stateview Blvd.
Fort Mill, SC 29715

Wells Fargo Bank Nv Na
Attn: Deposits Bankruptcy
MAC# P6103-05K
Po Box 3908
Portland, OR 97208

Wells Fargo Bank Nv Na
Attn: Deposits Bankruptcy MAC# P6103-05K
Po Box 3908
Portland, OR 97208



Wells Fargo Hm Mortgag
8480 Stagecoach Cir
Frederick, MD 21701
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                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       Jawaharlal Kotha                                                                                 Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,475.00
             Prior to the filing of this statement I have received                                        $                     1,475.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements; monitor for harassing conduct of debt collectors, and applications as needed.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, preparation and filing of
               motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods, relief from stay actions,
               attendance at any hearing before a Bankruptcy Judge (other than a confirmation hearing) or any other adversary
               proceeding / 2004 examination. The Debtor understands that Leavengood, Nash, Dauval, & Boyle, P.A. do not
               render tax advice and that with regards to all tax issues it has been advised to seek the counsel of an
               appropriate CPA or tax attorney.
                                                                         CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      October 14, 2015                                                   /s/ Ryan N. Singleton, Esq.
                                                                                Ryan N. Singleton, Esq. 0023502
                                                                                LeavenLaw
                                                                                3900 First Street North
                                                                                Suite 100
                                                                                Saint Petersburg, FL 33703
                                                                                727.327.3328 Fax: 727.327.3305
                                                                                data@leavenlaw.com




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 Fill in this information to identify your case:                                                  Check one box only as directed in this form and in
                                                                                                  Form 22A-1Supp:
 Debtor 1            Jawaharlal Kotha

 Debtor 2                                                                                                 1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                      2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Middle District of Florida                            applies will be made under Chapter 7 Means Test
                                                                                                          Calculation (Official Form 22A-2).
 Case number                                                                                          3. The Means Test does not apply now because of
 (if known)                                                                                               qualified military service but it could apply later.

                                                                                                          Check if this is an amended filing
Official Form 22A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because
you do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from
Presumption of Abuse Under § 707(b)(2) (Official Form 22A-1Supp) with this form.
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
             Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
             Living separately or are legally separated. fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
               living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
    If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                Column B
                                                                                                      Debtor 1                Debtor 2 or
                                                                                                                              non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                         $                       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $                       $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                     $
  5. Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                   $
       Ordinary and necessary operating expenses                         -$
       Net monthly income from a business, profession, or farm $                         Copy here -> $                       $
  6. Net income from rental and other real property
     Gross receipts (before all deductions)                               $
       Ordinary and necessary operating expenses                         -$
       Net monthly income from rental or other real property              $              Copy here -> $                       $
                                                                                                      $                       $
  7. Interest, dividends, and royalties




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                                page 1
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 Debtor 1     Jawaharlal Kotha                                                                         Case number (if known)



                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                     $                            $
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                        $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total on line 10c.
            10a.                                                                                   $                            $
            10b.                                                                                   $                            $
            10c. Total amounts from separate pages, if any.                                    +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.              $                        +$                      =$

                                                                                                                                             Total current monthly
                                                                                                                                             income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                              Copy line 11 here=>      12a. $


              Multiply by 12 (the number of months in a year)                                                                                    x 12
       12b. The result is your annual income for this part of the form                                                                12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.
       Fill in the median family income for your state and size of household.                                                         13.   $

  14. How do the lines compare?
       14a.            Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3.
       14b.            Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                       Go to Part 3 and fill out Form 22A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Jawaharlal Kotha
                   Jawaharlal Kotha
                   Signature of Debtor 1
        Date October 14, 2015
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 22A-2.
              If you checked line 14b, fill out Form 22A-2 and file it with this form.




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                                page 2
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 Fill in this information to identify your case:

 Debtor 1               Jawaharlal Kotha

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Middle District of Florida

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 22A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/14

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 22A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 22A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:          Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the "Nature of Debts" box on page 1 of the Voluntary
     Petition (Official Form 1).

           No.     Go to Form 22A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                   supplement with the signed Form 22A-1.
           Yes.    Go to Part 2.


 Part 2:          Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No.     Go to line 3.
           Yes.    Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                   10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 22A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 22A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.      Complete Form 22A-1. Do not submit this supplement.
           Yes.     Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 22A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:


                          I was called to active duty after September 11, 2001, for at least    If you checked one of the categories to the left, go to Form
                          90 days and remain on active duty.                                    22A-1. On the top of page 1 of Form 22A-1, check box 1,
                                                                                                There is no presumption of abuse, and sign Part 3. Then
                          I was called to active duty after September 11, 2001, for at least    submit this supplement with the signed Form 22A-1. you
                          90 days and was released from active duty on                          are not required to fill out the rest of Official Form 22A-1
                          ,which is fewer than 540 days before I file this bankruptcy case.     during the exclusion period. The exclusion period means
                                                                                                the time you are on active duty or are performing a
                          I am performing a homeland defense activity for at least 90           homeland defense activity, and for 540 days afterward. 11
                          days.                                                                 U.S.C. § 707(b)(@)(D)(ii).
                          I performed a homeland defense activity for at least 90 days,
                          ending on                  ,which is fewer than 540 days before I     If your exclusion period ends before your case is closed,
                          file this bankruptcy case.                                            you may have to file an amended form later.




Official Form 22A-1Supp                        Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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